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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

NEW ORLEANS DIVISION
IN RE: KATRINA CANAL BREACHES * CIVIL ACTION
LITIGATION * 05-4182
* MAGISTRATE 2
* SECTION “K”
*
PERTAINS TO: 07-4851 *

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MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

MAY IT PLEASE THE COURT:
I. FACTUAL BACKGROUND

The above captioned litigation arises from damages allegedly sustained to
plaintiff Six Flag’s Louisiana Theme Park as a result of Hurricane Katrina. Plaintiff filed
suit against a number of defendants allegedly responsible for the levee failures following
Katrina, including the Southeast Louisiana Flood Protection Authority East (““SLFPA”).
According to plaintiff's Petition for Damages, SLFPA is the successor-in-interest to both
the Board of Commissioners of the Lake Borgne Levee District as well as Board of
Commissioners of the Orleans Levee District. As such, plaintiff contends SLFPA is
liable to it far damages allegedly sustained as the result of levee breaches.

Hi. LAW AND ARGUMENT

The purpose of a Motion to Dismiss pursuant to Federal Rules of Civil Procedure

Rule 12(b)(6) is to test the sufficiency of the complaint not to judge the merits of the

case.’ The complaint must be liberally construed in favor of the Plaintiff, and all the facts

First Nat'l Bank of Louisville v. Lustig, 809 F.Supp. 444 (E.D. La. 1992).

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pleaded in the complaint must be taken as true to determine whether the Plaintiff has any
valid claim for relief.” Dismissal is appropriate if it appears beyond a doubt that the
plaintiff can prove no set of facts that would entitle him to relief.’ However, courts do
not have to accept legal conclusions, unsupported conclusions, unwarranted references or
sweeping legal conclusions cast in the form of factual allegations."

Plaintiff fails to state a cause of action against SLFPA

As noted above, plaintiff contends that SLFPA is liable in connection with
damages to its Louisiana Theme Park resulting from floodwaters allegedly originating
from various levee breaches and/or overtopping.

On January 1, 2007 the SLFPA was established as a levee district pursuant to
Louisiana Revised Statute 38:330.1 assuming the authority of a number of levee districts,
including the Orleans Levee District and the Lake Borgne Levee District. Louisiana
Revised Statute 38:330.3(A)(1)(a) addresses the transfer of authority as well as
obligations to SLFPA, and states in pertinent part:

(1)(a) Any legal proceeding to which the East Jefferson
Levee District, Lake Borgne Basin Levee District, Orleans
Levee District, or West Jefferson Levee District is a party
and which is filed, initiated, or pending before any court on
January 1, 2007, and all documents involved in or affected
by said legal proceeding, shall retain its effectiveness and

shall be continued in the name of the district. Other than the
district or districts originally named as party to the

° Brown v. Nations Bank Corp., 188 F.3d 579, 586 5" Cir. 1999).

3 U.S. Ex Rel. Thompson v. Columbia HCA/Healthcare Corp., 125 F.3d 899, 901
(5™ Cir. 1997).

In Re Mastercard Intern. Inc., Internet Gambling Litigation, 132 F.Supp.2d 468,
476 (E.D. La. 2001), aff'd, 313 F.3d 257 (5" Cir. 2002).
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proceedings, neither an authority or district within the
territorial jurisdiction of the authority shall have any
. _ liability for actions pending or claims arising prior to the
‘effective date of this Section.”
The starting point for the interpretation of any statute is the language of the statute itself.
In re Succession of Boyter, 1999-0761 (La.1/7/00) 756 So.2d 1122. The meaning and
intent of the law is determined by placing a construction on the provision in question that
is consistent with the express terms of the law and with the obvious intent of the
legislature in enacting it. Jd. The language of the statute addressed above clearly
indicates that SLFPA is not liable for any claims which arose prior to January 1, 2007.
As plaintiff's claim arises from events, which occurred in 2005, it has failed to state a
claim upon which relief can be granted against SLFPA. Accordingly, plaintiff's claims
against SLFPA should be dismissed.
Hil. CONCLUSION
WHEREFORE, for the foregoing reasons, Defendant, SLFPA, respectfully

submits that the plaintiff's claims must be dismissed for failure to state a claim upon

which relief may be granted pursuant to Federal Rule of Civil Procedure Rule 12(b)(6).

> La. R.S. 38:303.3
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Respectfully submitted,

DUPLASS, ZWAIN, BOURGEOIS, MORTON,
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Southeast Louisiana Flood Protection Authority East

CERTIFICATE OF SERVICE

I hereby certify that on the 4" day of December, 2007, a copy of the foregoing
Board of Commissioners for the The Southeast Louisiana Flood Protection Authority
East was filed electronically with the Clerk of Court using the CM/ECF system. Notice
of this filing has been forwarded to all known counsel of record by operation of the
court’s electronic filing system or by depositing a copy in the United States mail,
properly addressed and postage prepaid.

S/Jennifer M. Morris

JENNIFER M. MORRIS(#29936)
